
658 S.E.2d 661 (2008)
STATE of North Carolina
v.
Demond Antonio WELLS.
No. 514P07.
Supreme Court of North Carolina.
January 24, 2008.
Demond A Wells, Pro Se.
L. Michael Dodd, Special Deputy Attorney General, Ben David, District Attorney for State of NC.


*662 ORDER

Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 16th day of October 2007 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 24th day of January 2008."
Upon consideration of the petition filed on the 16th day of October 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of January 2008."
HUDSON, J., recused.
